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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA

In Re:    KATHY MAYO                                            Case No.:    13-05675-8-RDD



                           REPORT OF UNCLAIMED DIVIDEND

        The undersigned Trustee, having concluded administration of the above estate,
respectfully reports unto the Court:

        1. That the following checks were issued to certain creditors in payment of dividends
due in the distribution of the estate, and that said checks have never been negotiated:

      NAME AND LAST KNOWN ADDRESS                           AMOUNT OF DIVIDEND

KATHY MAYO                                                         $5,575.00
202 S. BAYWOOD LANE
GREENVILLE, NC 27834



       2. That the undersigned Trustee has made a diligent effort to determine the present mailing
address or whereabouts of the creditor-payee, and that all efforts have been unsuccessful;

       WHEREFORE, the undersigned Trustee desires to pay into the Court said unclaimed
dividends pursuant to 11 USC 1347.


         DATED: June 5, 2014



                                                   /S/ RICHARD M. STEARNS
                                                   RICHARD M. STEARNS
                                                   Chapter 13 Trustee
                                                   Post Office Box 2218
                                                   Kinston, North Carolina 28502
                                                   Phone: (252) 523-2295
